

People v Jones (2018 NY Slip Op 07641)





People v Jones


2018 NY Slip Op 07641


Decided on November 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2018

PRESENT: WHALEN, P.J., NEMOYER, CURRAN, TROUTMAN, AND WINSLOW, JJ. (Filed Nov. 9, 2018.) 


MOTION NO. (772/04) KA 03-01479.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRICHARD A. JONES, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








